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 1                                              THE HONORABLE RICARDO S. MARTINEZ
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 3
 4
                              UNITED STATES DISTRICT COURT
 5
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7
     UNITED STATES OF AMERICA,                       )   No. CR24-221-RSM
 8                                                   )
                     Plaintiff,                      )
 9                                                   )   ORDER TO CONTINUE TRIAL AND
                v.                                   )   EXTEND PRETRIAL MOTIONS
10                                                   )   DEADLINE
     AUSTIN D. GRIMME,                               )
11                                                   )
                     Defendant.                      )
12                                                   )
13          THE COURT has considered Mr. Grimme’s motion to continue the trial date and

14   extend the pretrial motions deadline and finds that:

15          (a) taking into account the exercise of due diligence, a failure to grant a

16   continuance in this case would deny counsel the reasonable time necessary for effective

17   preparation due to counsel’s need for more time to review the evidence, consider

18   possible defenses, and gather evidence material to the defense, as set forth in 18 U.S.C.

19   § 3161(h)(7)(B)(iv);

20          (b) a failure to grant such a continuance would likely result in a miscarriage of

21   justice, as set forth in 18 U.S.C. § 3161(h)(7)(B)(i);

22          (c) the additional time requested is a reasonable period of delay as the defendant

23   has requested more time to prepare for trial, to investigate the matter, to gather evidence

24   material to the defense, and to consider possible defenses;

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                                                                   FEDERAL PUBLIC DEFENDER
       ORDER TO CONTINUE TRIAL AND EXTEND                             1601 Fifth Avenue, Suite 700
       PRETRIAL MOTIONS DEADLINE                                        Seattle, Washington 98101
       (United States v. Grimme, CR24-221-RSM) - 1                                 (206) 553-1100
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 1          (d) the ends of justice will best be served by a continuance, and the ends of
 2   justice outweigh the best interests of the public and the defendant in any speedier trial,
 3   as set forth in 18 U.S.C. § 3161(h)(7)(A);
 4          (e) the time requested between the current trial date and the new trial date is
 5   needed to provide counsel the reasonable time necessary to prepare for trial considering
 6   counsel’s schedule and all the facts set forth above; and
 7          (f) the period of delay from the date of this order to the new trial date is
 8   excludable time pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (h)(7)(B)(iv).
 9          IT IS ORDERED that the trial date shall be continued to April 7, 2025, and that
10   pretrial motions shall be filed no later than February 20, 2025.
11          DONE this 3rd day of January, 2025.
12
13                                                   A
                                                     RICARDO S. MARTINEZ
14                                                   UNITED STATES DISTRICT JUDGE
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16
17   Presented by:
18
     s/ Corey Endo
19   First Assistant Federal Defender
     Attorney for Austin D. Grimme
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                                                                  FEDERAL PUBLIC DEFENDER
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